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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS LOCAL 98                         Case No. 3:19-cv-3304
PENSION FUND on behalf of itself and all
others similarly situated,
                                                    SECOND AMENDED CONSENT
               Plaintiff,                           SCHEDULING ORDER

vs.

DELOITTE & TOUCHE, LLP;
DELOITTE LLP,

               Defendants.



       Pursuant to the joint request of Lead Plaintiff International Brotherhood of Electrical
Workers Local 98 Pension Fund (“Lead Plaintiff”) and Defendants Deloitte & Touche, LLP, and
Deloitte LLP (collectively, “Defendants,” and together with Lead Plaintiff, the “Parties”), the
following second amended scheduling order is established for this case.

1.     Defendants shall file their opposition to Lead Plaintiff’s motion for class certification on
       or before October 1, 2021. Lead Plaintiff’s class certification reply shall be filed on or
       before October 29, 2021.

2.     Motions to join other parties or amend the pleadings shall be filed no later than December
       3, 2021.

3.     Fact discovery shall be completed no later than May 20, 2022. All discovery requests shall
       be served in time for the responses thereto to be served by this date. The Parties agree to
       make good-faith efforts to produce readily available documents on a rolling basis and to
       substantially complete document discovery on or before November 15, 2021.

4.     Mediation, pursuant to Local Civil Rules 16.03 - 16.11, shall be completed in this case on
       or before June 30, 2022. At least thirty (30) days prior to this mediation deadline, counsel
       for each party shall file and serve a statement certifying that counsel has: (1) provided the
       party with a copy of the Mediation Order; (2) discussed the availability of mediation with
       the party; and (3) discussed the advisability and timing of mediation with opposing counsel.

5.     Lead Plaintiff shall file and serve a document identifying by full name, address, and
       telephone number each person whom Lead Plaintiff expects to call as an expert at trial, and
       the topics on which that expert is expected to testify, by June 16, 2022.

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6.     Defendants shall file and serve a document identifying by full name, address, and telephone
       number each person whom Defendants expect to call as an expert at trial, and the topics on
       which that expert is expected to testify, by July 1, 2022.

7.     Any Party filing an affirmative expert report shall file and serve a document certifying that
       a written report prepared and signed by any expert, including all information required by
       Federal Rule Civil Procedure 26(a)(2)(B) unless otherwise agreed to by the parties, has
       been served on the other party by July 29, 2022.

8.     Rebuttal expert reports shall be served on the other parties by no later than September 14,
       2022.

9.     Expert discovery, including expert depositions, shall be completed by no later than
       October 14, 2022. Each expert shall be deposed only once even if that expert submits both
       an affirmative and rebuttal report.

10.    The Parties shall serve affidavits of records custodians that a party intends to offer for
       authentication in lieu of live testimony consistent with the timing in Local Civil Rule
       16.02(D)(3).

11.    Any party that seeks summary judgment shall file its motion and supporting papers on
       November 18, 2022. Opposition papers shall be filed by January 13, 2023. Reply papers
       shall be filed by February 10, 2023.

12.    Following the completion of briefing on any summary judgment motions, the Court shall
       hold a pretrial conference pursuant to Federal Rule of Civil Procedure 16(a), at which the
       schedule for jury selection and pretrial motions (including motions in limine) and other
       trial-related matters can be set.

       IT IS SO ORDERED.


                                                     /s/ Margaret B. Seymour________
                                                     Senior United States District Judge

Columbia, South Carolina

August 4, 2021




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